     Case 3:23-cv-00400-LL-VET Document 48 Filed 05/11/23 PageID.339 Page 1 of 8




1 MATTHEW D. ZINN (State Bar No. 214587)
  RYAN K. GALLAGHER (State Bar. No. 344349)
2 SHUTE, MIHALY & WEINBERGER LLP
  396 Hayes Street
3 San Francisco, California 94102
  Telephone: (415) 552-7272
4 Facsimile: (415) 552-5816
  zinn@smwlaw.com
5
  Attorneys for Defendant
6 County of Alameda
7
8
                       UNITED STATES DISTRICT COURT
9
                     SOUTHERN DISTRICT OF CALIFORNIA
10
11
   FIREARMS POLICY                          Case No. 3:23-cv-00400-LL-DDL
12 COALITION, INC.; CALIFORNIA
   GUN RIGHTS FOUNDATION;                   EX PARTE APPLICATION TO
13 SAN DIEGO COUNTY GUN                     EXTEND TIME TO RESPOND
   OWNERS PAC,                              TO PLAINTIFFS’ MOTION
14                                          FOR PRELIMINARY
            Plaintiffs,                     INJUNCTION; DECLARATION
15                                          OF MATTHEW D. ZINN
        v.
16
   CITY OF SAN DIEGO; COUNTY                PER CHAMBERS RULES, NO
17 OF IMPERIAL; COUNTY OF                   ORAL ARGUMENT UNLESS
   ALAMEDA; COUNT OF
18 VENTURA; COUNTY OF LOS                   SEPARATELY ORDERED BY
   ANGELES; CITY OF SAN JOSE;               THE COURT
19 and COUNTY OF SANTA CLARA,
20              Defendants.
21
22
23
24
25
26
27
28
     EX PARTE APPLICATION TO EXTEND TIME TO RESPOND TO MOTION FOR PRELIMINARY
     INJUNCTION
     Case No. 3:23-cv-00400-LL-DDL
     Case 3:23-cv-00400-LL-VET Document 48 Filed 05/11/23 PageID.340 Page 2 of 8




 1                          NOTICE AND APPLICATION
 2        Defendant County of Alameda applies ex parte, on behalf of all
 3 Defendants, for an order extending the time for all Defendants to respond to
 4 Plaintiffs’ Notice of Motion and Motion for Preliminary Injunction, or,
 5 alternatively, for Summary Judgment (ECF Nos. 20, 20-1) (“PI Motion”).
 6 Defendants’ opposition to the PI Motion is currently due on May 16—five days
 7 after this Application. Defendants request that the Court extend their time to
 8 oppose the PI Motion until three weeks after the Court resolves the
 9 outstanding Order to Show Cause (“OSC”), ECF No. 18. Defendants should not
10 be compelled to respond on the merits until this Court has resolved the serious
11 questions about jurisdiction and venue raised in the OSC.
12        The County makes this application pursuant to Civil Local Rule 83.3(g),
13 section 5 of this Court’s Civil Chamber Rules, and the Federal Rule of Civil
14 Procedure 6(b), based on the Statement of Good Cause set forth below, the
15 Declaration of Matthew D. Zinn (“Zinn Decl.”), filed herewith, and all of the
16 pleadings, papers, and records on file in this action, as well as such further
17 argument and evidence as may be presented at or before a hearing on this
18 matter.
19        The parties have conferred before the filing of this Application in
20 compliance with Local Rule 83.3(g) and section 5 of this Court’s Civil Chamber
21 Rules. The County contacted Plaintiffs’ counsel to ask whether they would
22 agree to a joint motion to extend the time for Defendants to respond to
23 Plaintiffs’ PI Motion. See Zinn Decl. ¶ 2. Plaintiffs’ counsel indicated he would
24 not agree to a joint motion extending the time. See id. ¶ 3. The parties conferred
25 further by email and by phone, but were unable to reach an agreement, and
26 Defendants informed Plaintiffs’ counsel they would file this Application. See
27 id. ¶¶ 4, 5. All Defendants support this Application. See id. ¶ 6.
28                                          2
     EX PARTE APPLICATION TO EXTEND TIME TO RESPOND TO MOTION FOR PRELIMINARY
     INJUNCTION
     Case No. 3:23-cv-00400-LL-DDL
     Case 3:23-cv-00400-LL-VET Document 48 Filed 05/11/23 PageID.341 Page 3 of 8




 1        Upon a joint motion of the parties (ECF No. 44), this Court previously
 2 extended the time for Plaintiffs to file a reply regarding the Court’s OSC from
 3 April 18, 2023 until April 25, 2023, and extended the time for Defendants to
 4 file a response to the PI Motion from April 18, 2023 until May 16, 2023 (ECF
 5 No. 45 at 1-2).
 6                        STATEMENT OF GOOD CAUSE
 7        On March 14, 2023, this Court issued an OSC ordering Plaintiffs to show
 8 cause why this case should not be dismissed for want of jurisdiction and/or
 9 improper venue. ECF No. 18. As explained below, there is good cause to extend
10 the deadline for Defendants to file their opposition to Plaintiffs’ PI Motion until
11 three weeks after the OSC has been resolved and the Court has confirmed that
12 it has jurisdiction and that venue is proper in this district. See Fed. R. Civ. P.
13 6(b)(1)(A). The parties previously stipulated to a limited extension, but
14 Plaintiffs have indicated their opposition to further extensions.
15 I.     Defendants should not be forced to litigate the merits before the
          Court resolves the outstanding questions of jurisdiction and
16        venue presented by the OSC.
17        An extension of the time to respond to Plaintiffs’ PI Motion is necessary
18 to avoid Defendants’ being required to litigate the merits of the action before
19 the Court determines whether it has jurisdiction and that venue is proper. The
20 Court issued its OSC on March 14, 2023. ECF No. 18. Plaintiffs filed their reply
21 to the OSC on April 25, 2023, and thus the issues presented in the OSC now
22 are fully briefed and ready for decision. See ECF Nos. 18 (Plaintiffs’ Response);
23 30, 33 (Defendants’ Responses); 46 (Plaintiffs’ Reply). However, the deadline
24 for Defendants to respond to Plaintiffs’ lingering PI Motion remains May 16,
25 2023. Accordingly, Defendants are at risk of being compelled to respond to the
26 PI Motion before the threshold issues raised in the OSC can be resolved.
27
28                                          3
     EX PARTE APPLICATION TO EXTEND TIME TO RESPOND TO MOTION FOR PRELIMINARY
     INJUNCTION
     Case No. 3:23-cv-00400-LL-DDL
     Case 3:23-cv-00400-LL-VET Document 48 Filed 05/11/23 PageID.342 Page 4 of 8




 1        Defendants’ opposition will necessarily implicate the merits of the case.
 2 “A plaintiff seeking a preliminary injunction must establish that he is likely to
 3 succeed on the merits . . . .” Winter v. Natural Res. Def. Council, Inc., 555 U.S.
 4 7, 20 (2008). And Plaintiffs have moved for summary judgment in the
 5 alternative—a dispositive motion that squarely presents the merits. See ECF
 6 No. 20-1 at 10. Given that the Court has expressed its doubts that it has
 7 jurisdiction to hear the case or that venue is proper in this district, Defendants
 8 would be irreparably prejudiced by being required to litigate the merits of the
 9 case before these threshold issues are resolved. See Bates v. United Parcel
10 Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007) (“Standing is a threshold matter
11 central to our subject matter jurisdiction. We must assure ourselves that the
12 constitutional standing requirements are satisfied before proceeding to the
13 merits.”).
14        Moreover, Defendants have not been expending resources in preparing
15 their opposition to the PI Motion, as they have been anticipating that the
16 Court’s resolution of the OSC could moot the PI Motion at any point. See Zinn
17 Decl. ¶ 7. It is therefore impractical for Defendants to prepare their opposition
18 in the time currently remaining. See id.
19        Defendants therefore request that the Court extend Defendants’ deadline
20 to oppose Plaintiffs’ PI Motion until three weeks after the date of any order by
21 the Court dissolving the OSC or otherwise allowing the case to proceed, in
22 whole or in part.
23 II.    Plaintiffs have provided no reason for attempting to expedite a
          resolution of this matter on the merits.
24
          Plaintiffs will not be prejudiced by a delay in resolving their PI Motion—
25
     even assuming their suit is justiciable and venue is proper. Plaintiffs assert
26
     that “[i]mmediate relief is necessary” due to an alleged “concrete and ongoing
27
     irreparable injury to their right of access to the courts.” ECF No. 20 at 1, PI
28                                           4
     EX PARTE APPLICATION TO EXTEND TIME TO RESPOND TO MOTION FOR PRELIMINARY
     INJUNCTION
     Case No. 3:23-cv-00400-LL-DDL
     Case 3:23-cv-00400-LL-VET Document 48 Filed 05/11/23 PageID.343 Page 5 of 8




 1 Motion. However, their Motion provides no indication that there is any urgency
 2 in resolving this matter, let alone such urgency that briefing must proceed
 3 before the Court has determined whether it has jurisdiction. Plaintiffs
 4 explicitly note that there is no pending firearm litigation against Defendants
 5 Imperial County, Alameda County, Ventura County, Los Angeles County,
 6 Santa Clara County, or City of San Jose. ECF No. 20-1 at 6-8, PI Motion.
 7 Accordingly, there is little to no risk that Section 1021.11 could be imminently
 8 enforced against Plaintiffs by any of the Defendants. Although Plaintiffs assert
 9 that but for Section 1021.11 they would bring suits against those Defendants
10 related to their firearm regulations, Plaintiffs’ own account of ongoing
11 litigation against the City of San Diego belies that assertion. See id. at 8. In
12 their own account of Fahr v. City of San Diego, S.D. Cal. Case No. 3:21-cv-
13 01676-BAS-BGS, Plaintiffs explain that although the “uncertainty about
14 potential enforcement” of Section 1021.11 has “created a chilling effect,” they
15 are nevertheless “continu[ing] to litigate” despite the ostensible “threat of
16 Section 1021.11 fee liability.” Id. Plaintiffs’ willingness to continue litigating
17 that case indicates that it is not actually deterring firearms litigation. In any
18 event, a short delay in the resolution of their PI Motion to allow the Court to
19 decide whether it may hear the case at all can hardly cause Plaintiffs’ any
20 harm.
21                                  CONCLUSION
22        For the foregoing reasons, and for those set forth in the attached
23 Declaration of Matthew D. Zinn, the County respectfully requests that the
24 Court enter the Proposed Order filed concurrently with this Application.
25
26
27
28                                          5
     EX PARTE APPLICATION TO EXTEND TIME TO RESPOND TO MOTION FOR PRELIMINARY
     INJUNCTION
     Case No. 3:23-cv-00400-LL-DDL
     Case 3:23-cv-00400-LL-VET Document 48 Filed 05/11/23 PageID.344 Page 6 of 8




1 DATED: May 11, 2023                  SHUTE, MIHALY & WEINBERGER LLP
2
3
4                                      By:      s/Matthew D. Zinn
                                             MATTHEW D. ZINN
5
6                                            Attorney for Defendant
7                                            County of Alameda
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                           6
     EX PARTE APPLICATION TO EXTEND TIME TO RESPOND TO MOTION FOR PRELIMINARY
     INJUNCTION
     Case No. 3:23-cv-00400-LL-DDL
     Case 3:23-cv-00400-LL-VET Document 48 Filed 05/11/23 PageID.345 Page 7 of 8




 1                    DECLARATION OF MATTHEW D. ZINN
 2        I, Matthew D. Zinn, declare as follows:
 3        1.    I am an attorney licensed to practice in the State of California and
 4 a partner at Shute, Mihaly & Weinberger LLP, attorneys for Defendant
 5 County of Alameda. I have personal knowledge of the facts set forth herein,
 6 except as to those stated on information and belief, and as to those, I am
 7 informed and believe them to be true. If called as a witness, I could and would
 8 competently testify to the matters stated herein.
 9        2.    On May 8, 2023, I emailed counsel for Plaintiffs to ask if they would
10 agree to a joint motion to extend the time for Defendants to respond to
11 Plaintiffs’ PI Motion until three weeks after the Court enters an order
12 resolving the OSC in full or in part.
13        3.    On May 10, 2023, Plaintiffs’ counsel Stephen Duvernay responded
14 to my email indicating their position that they would not agree to the joint
15 motion to extend the time for Defendants’ response. Mr. Duvernay stated that
16 the “point of the [PI] motion is to remove, as promptly as possible, the ongoing
17 deprivation of Plaintiffs’ constitutional rights,” and that the Plaintiffs “are
18 anxious to avoid further delay.”
19        4.    On May 11, 2023, I replied to Mr. Duvernay’s email, stating that
20 we would be filing the foregoing Application.
21        5.    On May 11, 2023, Mr. Duvernay and I spoke by telephone
22 confirming the parties’ positions and attempting to resolve the disagreement.
23 We were unable to come to an agreement about the extension.
24        6.    On May 11, 2023, by email, counsel for all Defendants stated that
25 they support the Application.
26        7.    Because Defendants have been anticipating that the Court’s
27 resolution of the OSC could moot Plaintiffs’ PI Motion, Defendants have not
28                                          7
     EX PARTE APPLICATION TO EXTEND TIME TO RESPOND TO MOTION FOR PRELIMINARY
     INJUNCTION
     Case No. 3:23-cv-00400-LL-DDL
     Case 3:23-cv-00400-LL-VET Document 48 Filed 05/11/23 PageID.346 Page 8 of 8




1 expended resources in preparing their opposition to the PI Motion, and it would
2 therefore be impractical for Defendants to file an opposition to the PI Motion
3 by the current May 16, 2023 deadline.
4         I declare under penalty of perjury under the laws of the United States of
5 America that the foregoing is true and correct.
6         Executed on this 11th day of May, 2023, at San Francisco, California.
7
8                                            Matthew D. Zinn
                                             Matthew D. Zinn
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                          8
     EX PARTE APPLICATION TO EXTEND TIME TO RESPOND TO MOTION FOR PRELIMINARY
     INJUNCTION
     Case No. 3:23-cv-00400-LL-DDL
